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                                                                                          January 26, 2024
         Under Seal
         Honorable Lydia Kay Griggsby
         United States District Judge
         United States District Court – Greenbelt
         6500 Cherrywood Lane
         Greenbelt, MD 20770
                   Re:    United States v. Marilyn Mosby, No. 22-cr-007
         Dear Judge Griggsby,
                   We write regarding the matter raised by the Court this afternoon and to request additional
         follow-up to ensure Ms. Mosby’s fair trial rights. We appreciate the Court’s attention to this matter.
                   Yesterday, the Court made the parties aware that on the morning of January 24, 2024, a
         Court Security Officer made inappropriate, derogatory comments about Marilyn Mosby in the
         public security check-in area of the Greenbelt courthouse to a group of law clerks. The Court
         shared with the parties that a colleague had made the Court aware of the incident after learning of
         the matter through the law clerks. We understand from the Court that the Court Security Officer
         referred to Ms. Mosby as a “shank” multiple times and shared his opinion about the pending matter.
         We further understand that the Court Security Officer’s personal opinions stem from his
         connection to a former colleague from the Baltimore City Police Department who was involved in
         the Freddie Gray matter. The Court is aware that Ms. Mosby prosecuted a group of police officers
         involved in Mr. Gray’s death when she served as Baltimore City State’s Attorney.
                   We appreciate the Court promptly raising this matter with the parties and the Court’s
         willingness to follow up to ensure Ms. Mosby receives a fair trial. Having had a chance to
         investigate the issue further, we write to request that the Court take additional steps to ensure no
         jurors were influenced by this particular Court Security Officer’s personal opinions either at the
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       public security check-in on the morning of January 24, 2024, or at any time since jury selection
       began on January 17, 2024.
               “A defendant’s Sixth Amendment right to trial by an impartial jury is violated if an
       influence outside of the jury’s deliberative process, a so-called ‘external influence,’ affects the
       jury’s decision-making.” United States v. Johnson, 954 F.3d 174, 179 (4th Cir. 2020) (quoting
       Barnes v. Joyner, 751 F.3d 229, 240 (4th Cir. 2014)). “‘[I]f even a single juror’s impartiality is
       overcome’ by such an external influence, the defendant’s right to an impartial jury has been
       compromised.” Id. (quoting United States v. Lawson, 677 F.3d 629, 648-49 (4th Cir. 2012)).
       Courts take these matters seriously. See Remmer v. United States, 347 U.S. 227, 229 (1954)
       (establishing the procedures that a district court must follow when there has been a direct or
       indirect “private communication, contact, or tampering . . . with a juror during a trial about the
       matter pending before the jury”); cf. United States v. Swanagan, No. 4:22-cr-3-RGJ, 2023 WL
       6929833, at *4 n. 3 (W. D. Kent. 2023) (the court requested to view all security footage in the
       courthouse to confirm that defendant was transported in shackles in the presence of jurors).
               At this time, Ms. Mosby is not requesting a Remmer hearing. Ms. Mosby recognizes that
       all parties are at an information deficit regarding this incident. To put the parties in a better position
       to determine whether there has been potential prejudice to Ms. Mosby, undersigned counsel
       requests access to the following information:
           •   Clarification regarding how jurors enter the courthouse each day and, specifically, whether
               any jurors entered the courthouse on the morning of January 24, 2024 through the public
               security check-in area;
           •   The results of any internal investigation that has been completed;
           •   The opportunity to interview the law clerks who witnessed the inappropriate comments;
           •   The opportunity to interview the Court Security Officer to ask whether he has made any
               comments whatsoever about Ms. Mosby or the pending matter while in earshot of jurors;
           •   The opportunity to interview other Court Security Officers about whether they have
               knowledge of this Court Security Officer’s comments on this occasion or others;
           •   Immediate preservation of any and all time and shift records for this Court Security Officer,
               as well as video tapes that might capture his interactions with jurors and potential jurors
               since January 17, 2024.
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              We understand that Court Security Officers routinely work throughout the courthouse
       separate and apart from their shifts at the security check-in. While we understand and appreciate
       that the particular Court Security Officer has been pulled from the security check-in, we request
       that he not be put in a position where he could have any potential contact with the jury.
              We appreciate the Court’s attention to this important matter and welcome the opportunity
       to have a further conversation.
                                                    Respectfully,


                                                    /s/
                                                    James Wyda (#25298)
                                                    Federal Public Defender

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